

Matter of Harrison v Venettozzi (2019 NY Slip Op 02943)





Matter of Harrison v Venettozzi


2019 NY Slip Op 02943


Decided on April 18, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 18, 2019

527651

[*1]In the Matter of STONEY HARRISON, Petitioner,
vDONALD VENETTOZZI, as Acting Director of Special Housing and Inmate Disciplinary Programs, Respondent.

Calendar Date: March 15, 2019

Before: Garry, P.J., Egan Jr., Clark, Aarons and Pritzker, JJ.


Stoney Harrison, Alden, petitioner pro se.
Letitia James, Attorney General, Albany (Marcus J. Mastracco of counsel), for respondent.



MEMORANDUM AND JUDGMENT
Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Albany County) to review a determination of the Commissioner of Corrections and Community Supervision finding petitioner guilty of violating certain prison disciplinary rules.
Petitioner commenced this CPLR article 78 proceeding challenging a determination made following a tier III disciplinary hearing finding him guilty of violating certain prison disciplinary rules. The Attorney General has advised this Court that the determination at issue has been administratively reversed, all references thereto have been expunged from petitioner's institutional record and the $5 mandatory surcharge has been refunded to petitioner's inmate account. Given that petitioner has received all of the relief to which he is entitled, the petition is dismissed as moot (see Matter of Boeck v Annucci, 165 AD3d 1334, 1334 [2018]; Matter of Little v Lee, 164 AD3d 1559, 1560 [2018]).
Garry, P.J., Egan Jr., Clark, Aarons and Pritzker, JJ., concur.
ADJUDGED that the petition is dismissed, as moot, without costs.








